Case 9:13-cv-80928-KAM Document 732 Entered on FLSD Docket 01/11/2022 Page 1 of 6




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO.: 9:13-cv-80928 MARRA
                                  (Consolidated Action: Lead Case)

   RICHARD COTROMANO, et al., all on behalf of
   themselves and all others similarly situated,
                 Plaintiffs,
   vs.

   RAYTHEON TECHNOLOGIES CORPORATION,
   et al,
               Defendants.
   ___________________________________________/

                              PLAINTIFFS’ TRIAL WITNESS LIST

          Plaintiffs hereby serve a Trial Witness List amending the May Call-Will Call list

  disclosed to Defendant as follows.

           Those in the May Call list have been redesignated as Likely or Unlikely.

            Likely Call witnesses are Will Call Witnesses.

           Witnesses are described as Live, Live*, Depo, or Conditional in the status column.

                     o Plaintiff reserves the right to call a witness by deposition if the witness
                       proves unavailable or for any other reason provided under the Federal Rules
                       of Civil Procedure.
                     o Witnesses noted as Live* are witnesses who have been served, are likely to
                       be served or have agreed to a date on call, and for whom Plaintiffs are not
                       filing transcripts unless exigent circumstances arise.
                     o Conditional witnesses are witnesses for whom appearance is not yet known
                       despite attempts to serve. Plaintiffs have separately filed deposition
                       designations and counter designation for any witness marked as conditional
                       or depo.
                     o Plaintiffs will be filing transcripts for Jack Wilson and for Paul Steinmeyer.

          The following amendments should also be noted.
                 Richard Smith, PhD will be called live, and not via prior testimony.
Case 9:13-cv-80928-KAM Document 732 Entered on FLSD Docket 01/11/2022 Page 2 of 6




                Arie Perry, MD will be called in the manner ordered by the Court subject to present
                 motion.
                Plaintiffs also add William Brow whose inadvertent exclusion from the list was
                 noted in court hearings, wherein Plaintiffs advised that Mr. Brow would be called
                 in Rebuttal only.
                Plaintiffs have removed Pradnay Ramdev, MD.



                                                                                                 Will
                Orig.                                                         Live, Depo,       Call/
      No.                       Witness Name                  Role
                 No.                                                          Conditional        May
                                                                                                 Call
                             Cotromano, Bethany                                                 A Will
      1.         1                                           Plaintiff            Live
                            c/o Plaintiffs’ Counsel                                              Call
                             Cotromano, Richard                                                 A Will
      2.         2                                           Plaintiff            Live
                            c/o Plaintiffs’ Counsel                                              Call
                                DeCarlo, Frank                                                  A Will
      3.         3                                           Plaintiff            Live
                            c/o Plaintiffs’ Counsel                                              Call
                              DeCarlo, Paulette                                                 A Will
      4.         4                                           Plaintiff            Live
                            c/o Plaintiffs’ Counsel                                              Call
                              Dunsford, Gregory                                                 A Will
      5.         5                                           Plaintiff            Live
                            c/o Plaintiffs’ Counsel                                              Call
                              Dunsford, Jennifer                                                A Will
      6.         6                                           Plaintiff            Live
                            c/o Plaintiffs’ Counsel                                              Call
                              Featherston, Joyce                                                A Will
      7.         7                                           Plaintiff            Live
                            c/o Plaintiffs’ Counsel                                              Call
                                 Bilder, Don             Corp.Rep. and
                                                                                                A Will
      8.         8               As Corporate            Manager when             Depo
                                                                                                 Call
                                Representative             Deposed
                             Heffernan, Maura as
                                                         Corp.Rep. and
                           Corporate Representative                                             A Will
      9.         9                                       Manager when             Depo
                             September 15, 2016                                                  Call
                                                           Deposed
                             December 29, 2015
                           Dominici, PhD Francesca
                                                                                                A Will
      10.        11         Harvard School of Pub            Expert               Live
                                                                                                 Call
                                    Health
                           Gossman MS Michael S.
                                                                                                A Will
      11.        12          Regulation Directive            Expert               Live
                                                                                                 Call
                                                                                                A Will
      12.        13        John A. Kilpatrick, Ph.D.,        Expert               Live
                                                                                                 Call
Case 9:13-cv-80928-KAM Document 732 Entered on FLSD Docket 01/11/2022 Page 3 of 6




                                                                                  Will
             Orig.                                                 Live, Depo,   Call/
      No.                Witness Name                Role
              No.                                                  Conditional    May
                                                                                  Call
                      Kaltofen PhD, Marco                                        A Will
      13.     14                                     Expert           Live
                      Boston Chemical Data                                        Call
                                                                   via zoom or
                         Perry, M.D. Arie                                        A Will
      14.     15                                     Expert          depo if
                     San Francisco, CA 94117                                      Call
                                                                     allowed
                      Abernethy PhD, Robert                                      A Will
      15.     16                                    Witness           Depo
                             Deceased                                             Call
                     Corporate Representative   Party Custodian                  Likely
      16.     10                                                      Live
                           of Defendant           Corp. Rep.                      Call
                      Behringer, David Allan                                     Likely
      17.     18         10852 Masters Dr.          Witness           Depo        Call
                        Clermont, FL 34711
                             Gee, Dean
                         28318 E. Benders       Witness, manager                 Likely
      18.     19                                                      Depo
                           Landing Blvd.         when deposed                     Call
                         Spring, TX 77386
                          Jarrell, Deborah
                         2955 Banyan Lane                                        Likely
      19.     20                                    Witness        Conditional
                       West Palm Beach, FL                                        Call
                               33403
                           Lurix, Joseph
                                                                                 Likely
      20.     21       13935 Aster Avenue           Witness        Conditional
                                                                                  Call
                      Wellington, FL 33414
                         Miskimens Piche,
                              Rebecca                                            Likely
      21.     22                                    Witness          Live*
                       23138 Rainbow Road                                         Call
                      Boca Raton, FL 33428
                          Newfield, Tracy                                        Likely
      22.     24                                    Witness           Live
                      c/o Plaintiffs’ Counsel                                     Call
                         Santiago, Cynthia                                       Likely
      23.     25                                    Witness           Depo
                             Deceased                                             Call
                          Seelinger, James
                                                                                 Likely
      24.     26        153 Cumberland St.          Witness          Live*
                                                                                  Call
                      Lake Placid, FL 33852
                          Trujillo, Caridad
                      14689 21st Road North                                      Likely
      25.     27                                    Witness        Conditional
                     Loxahatchee Groves, FL                                       Call
                               33470
                           Trujillo, Frank
                                                                                 Likely
      26.     28        3434 Otters Run Dr.         Witness           Depo
                                                                                  Call
                      Groveland, FL 34736
Case 9:13-cv-80928-KAM Document 732 Entered on FLSD Docket 01/11/2022 Page 4 of 6




                                                                               Will
             Orig.                                              Live, Depo,    Call/
      No.                Witness Name              Role
              No.                                               Conditional    May
                                                                               Call
                       Watkins PhD, Sharon
                                                                              Likely
      27.     29          818 Derbyb Ave          Witness          Depo
                                                                               Call
                       Camp Hill, PA 17011
                          Steinmeyer, Paul
                                                Witness and                   Likely
      28.     30        30 Basket Shop Rd.                         Depo
                                                  Expert                       Call
                       Columbia, CT 06237
                      Smith, PhD Richard L.
                     SAMI/ UNC Chapel Hill                                    Likely
      29.     31                                  Expert           Live
                      19 T.W. Alexander Dr                                     Call
                             NC 27709
                           Bogacz, Teresa
                                              Witness Manager                 Likely
      30.     33             57 Old Rd.                            Depo
                                               when deposed                    Call
                      Springfield, MA 01129
                            Lane, David
                                                                              Likely
      31.     39        120 Summerhill Cir        Witness          Depo
                                                                               Call
                     St Augustine FL 32086
                            Morris, Scott
                           5930 River Rd.                                     Likely
      32.     40                                  Witness          Depo
                       New Port Richey, FL                                     Call
                               34652
                         Richards, William
                                                                              Likely
      33.     44        190 S County Road         Witness       Conditional
                                                                               Call
                      Palm Beach, FL 33480
                           Wildes, Frank
                                                                              Likely
      34.     49           622 SE 25th Dr         Witness          Depo
                                                                               Call
                     Okeechobee, FL 34974
                          Williams, Perry
                                                                              Likely
      35.     50        16791 E Mead Hill         Witness         Live*
                                                                               Call
                     Loxahatchee, FL 33470
                            Wilson, Jack
                                                                              Likely
      36.     52       148 Tom Sawyer Ln.         Witness          Depo
                                                                               Call
                     Mount Holly, NC 28120
                           William Brow                                        Likely
              53
      37.                15780 75th Ln. N.        Witness         Live*         Call
             (add)
                     Loxahatchee, FL 33470                                    Rebuttal
                                                                                Not
                      Pradnay Ramdev, M.D.
                                                                              Calling
      38.     43      3100 SW 62nd Avenue         Witness          Live
                                                                                May
                         Miami, FL 33155
                                                                                Call
Case 9:13-cv-80928-KAM Document 732 Entered on FLSD Docket 01/11/2022 Page 5 of 6




                                                                                 Will
             Orig.                                                Live, Depo,    Call/
      No.                Witness Name                Role
              No.                                                 Conditional    May
                                                                                 Call
                        Barwald, Robert L
                                                                                Unlikely
      39.     17      1291 Barnstaple Circle        Witness          Live
                                                                                 Call
                      Wellington, FL 33414
                          Newfield, Todd                                        Unlikely
      40.     23                                    Witness          Live
                      c/o Plaintiffs’ Counsel                                    Call
                         Alberghini, David
                                                Witness Manager                 Unlikely
      41.     32       100 Cirillo Dr. Apt O                         Depo
                                                 when deposed                    Call
                      Colchester, CT 06415
                        Breslauer, Michael
                     3724 Dixie Canyon Ave.                                     Unlikely
      42.     34                                    Witness          Depo
                        Sherman Oaks, CA                                         Call
                              91423
                         Curtis, Robert J.
                                                                                Unlikely
      43.     35       16198 Temple Blvd.           Witness       Conditional
                                                                                 Call
                     Loxahatchee, FL 33470
                       Foster, Kimberly M.
                        1202 Merlot Drive                                       Unlikely
      44.     36                                    Witness          Depo
                        Palm Bch Gdns, FL                                        Call
                              33410
                         Heffernan, Maura
                          9731 SW Royal
                                                Former Employee                 Unlikely
      45.     37             Poinciana                               Live
                                                    Witness                      Call
                       Port Saint Lucie, FL
                              34990
                          Johnson, Donna
                        26689 Antioch Road                                      Unlikely
      46.     38                                    Witness          Depo
                                                                                 Call
                        Andalusia, AL 36421
                      Morrison, M.D. Glenn
                                                                                Unlikely
      47.     41     3100 SW 62nd Avenue            Witness          Depo
                                                                                 Call
                        Miami, FL 33155
                         Plank, William
                                                                                Unlikely
      48.     42       72 Camellia Circle,          Witness       Conditional
                                                                                 Call
                     Tequesta, Florida 33469
                          Sillan, John
                                                                                Unlikely
      49.     45        172 Wild Pine Rd            Witness          Depo
                                                                                 Call
                     Wellington, FL 33414
                       Travers, Clayton R.                                      Unlikely
      50.     46                                    Witness          Depo
                            Deceased                                             Call
Case 9:13-cv-80928-KAM Document 732 Entered on FLSD Docket 01/11/2022 Page 6 of 6




                                                                                           Will
              Orig.                                                      Live, Depo,       Call/
      No.                   Witness Name                  Role
               No.                                                       Conditional       May
                                                                                           Call
                            Turner, Michael
                                                                                         Unlikely
      51.      47            5318 Club Rd.              Witness          Conditional
                                                                                          Call
                          Haverhill, FL 33415
                              Vause, Paul
                                                                                         Unlikely
      52.      48       8501 Veterans Memorial          Witness             Depo
                                                                                          Call
                         Tallahassee, FL 34309
                           Williamson, John
                         Bureau of Rad. Control                                          Unlikely
      53.      51                                       Witness             Depo
                            Post Box 680069                                               Call
                        Orlando, FL 32868-0069


                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 11th day of January 2022, I electronically filed the
  foregoing Will Call / May Call Witness List with the Clerk of the Court using CM/ECF.

  s/ Mara R. P. Hatfield                   Searcy Denney Scarola Barnhart & Shipley, P.A.
  MARA R. P. HATFIELD                      2139 Palm Beach Lakes Boulevard
  Florida Bar No.: 37053                   West Palm Beach, Florida 33409
  Attorney E-Mails: mrh@searcylaw.com      Phone: (561) 686-6300
  And dbotero@searcylaw.com                Fax: (561) 383-9539
  Primary E-Mail:
  _hatfieldteam@searcylaw.com              Attorneys for Cotromano and subsequent Plaintiffs
